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 1                                                    JUDGE RONALD B. LEIGHTON
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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT TACOMA
 8
     UNITED STATES OF AMERICA,              )     NO. CR06-5544RBL
 9                                          )
                    Plaintiff,              )
10                                          )     ORDER SEALING DEFENDANT’S
                    vs.                     )     SENTENCING MEMORANDUM
11                                          )
     CHAD RHODES,                           )
12                                          )
                    Defendant.              )
13                                          )
14
            The Court having considered the Motion for Order Sealing Defendant’s
15
     Sentencing Memorandum and attachments thereto,
16
            NOW THEREFORE IT IS HEREBY ORDERED that the Defendant’s
17
     Sentencing Memorandum and attachments thereto, are to be sealed.
18


                                            A
     IT IS SO ORDERED this 13th day of March, 2007.
19

20                                          RONALD B. LEIGHTON
                                            UNITED STATES DISTRICT JUDGE
21 Presented by:

22

23 /s/
     Linda R. Sullivan
24 Attorney for Defendant

25

26

                                                                    FEDERAL PUBLIC DEFENDER
                                                                               1331 Broadway , Suite 400
                                                                             Tacoma, Washington 98402
     ORDER SEALING – page 1                                                              (253) 593-6710
